Case 2:02-cV-02483-.]DB-STA Document 136 Filed 08/16/05 Page 1 of 3 Page|D 152

IN THE UNITED sTArEs DlsrRlCiE FSIFHTM D‘*
FoR THE WESTERN DISTRICT oF E _
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vERoNICA M. AKINES, et 31., CLEFM*§§*§ QPYLC%URT

       
   

Plaintiffs,
v. No. 02-2483-B/An ./

SHELBY COUNTY GOVERNMENT
(Shelby County Correctional Center)

Defendant.

 

CHAKA C. WATSON and
LEKEISHA HUNT,

Plaintiffs,
v. No. 02~269l-B/An

SHELBY COUNTY GOVERNMENT
(Shelby County Correctional Center)

Defendant.

 

ORDER OF REFERENCE

 

Before the court is Defendant’s Motion for Order Dismissing Plaintiff Cotina Glover’s
Complaint for Failing to Appear for her Deposition filed on August 4, 2005.

This matter is hereby referred to the United States Magistrate Judge for a report and
recommendation Any objections to the magistrate judge’s report and recommendation shall be
made within ten (10) days after service of the report, setting forth particularly those portions of
the report objected to and the reasons for the objections. Failure to timely assign as error a
defect in the magistrate judge’s report will constitute a Waiver of that objection. E Rule 72(a),
Federal Rules of Civil Procedure.

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Case 2:02-cV-02483-.]DB-STA Document 136 Filed 08/16/05 Page 2 of 3 Page|D 153

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IT IS SO ORDERED this l(° day Of August, 2005.

/

. DANIEL BREEN \_
NlT srATEs DlsrRlcT JUDGE

   

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Notice of Distribution

This notice confirms a copy of the document docketed as number 136 in
case 2:02-CV-02483 Was distributed by faX, mail, or direct printing on
August 17, 2005 to the parties listed.

 

 

Glenwood Paris Roane

LAW OFFICE OF GLENWOOD P. ROANE, SR.
217 EXchange Ave.

l\/lemphis7 TN 38105--350

Kathleen L. CaldWell

LAW OFFICE OF KATHLEEN L. CALDWELL
2080 Peabody Ave.

l\/lemphis7 TN 38104

Hite McLean

LAW OFFICES OF H[TE l\/ICLEAN7 JR.
2670 Union Avenue EXtended

Ste. 825

l\/lemphis7 TN 38l l2--44l

Honorable J. Breen
US DISTRICT COURT

